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 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                        CASE NO. 1:15-CR-00251-LJO-SKO
11
                                 Plaintiff,           GOVERNMENT’S MOTION OF DISMISSAL
12                                                    WITHOUT PREJUDICE OF INDICTMENT
                           v.                         AGAINST JOSE HERNANDEZ-GARCIA, AND
13                                                    ORDER THEREON
     JOSE HERNANDEZ-GARCIA
14
                                Defendants.
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16
            Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the government moves to
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     dismiss the indictment against JOSE HERNANDEZ-GARCIA in the interest of justice, without
18
     prejudice.
19

20
     Dated: December 2, 2015                              BENJAMIN B. WAGNER
21                                                        United States Attorney

22
                                                   By: /s/ VINCENZA RABENN
23                                                     VINCENZA RABENN
                                                       Assistant United States Attorney
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     GOVERNMENT’S MOTION OF DISMISSAL OF
     INDICTMENT AGAINST JOSE HERNANDEZ-               1
30   GARCIA, AND ORDER THEREON
           Case 1:15-cr-00251-LJO-SKO Document 26 Filed 12/03/15 Page 2 of 2

 1
                                                 ORDER
 2
                  Having met with counsel, there is good cause. IT IS ORDERED that the Indictment as to
 3
     JOSE HERNANDEZ-GARCIA be dismissed in the interest of justice, without prejudice.
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 6 IT IS SO ORDERED.

 7      Dated:   December 3, 2015                        /s/ Lawrence J. O’Neill
 8                                                 UNITED STATES DISTRICT JUDGE

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     GOVERNMENT’S MOTION OF DISMISSAL OF
     INDICTMENT AGAINST JOSE HERNANDEZ-              2
30   GARCIA, AND ORDER THEREON
